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 8 Audi Financial Services
 9                    UNITED STATES DISTRICT COURT
10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
11 JULIE ANN GOLDBERG,                      CASE NO.
12          Plaintiff,
                                            [Los Angeles County Superior Court
13        vs.                               Case No. 21VECV00337]
14 AUDI FINANCIAL SERVICES; VW
   CREDIT, INC.; ERIC RAMIREZ;              DEFENDANTS VW CREDIT, INC.
15 ADAM SALTZMAN, CHIEF                     AND AUDI FINANCIAL
   EXECUTIVE OFFICE FOR STERLIN             SERVICES’ NOTICE OF
16 ASSET RECOVERY, INC.; JANIS              REMOVAL OF CIVIL ACTION
   SACHS; MICHAEL FARHOOD;                  FROM STATE COURT
17 JOHN DOE, SON OF MICHAEL
   FARHOOD; STEVE GORDON,
18 DIRECTOR OF THE CALIFORNIA               Filed Under Separate Cover:
   DEPARTMENT OF MOTOR
19 VEHICLES, and DOES 1 through 50,         DECLARATION OF SALWA S.
   inclusive,                               KAMAL
20
              Defendants.
21
                                            Complaint Filed; March 12, 2021
22                                          FAC Filed: June 1, 2021
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                NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1 TO THE CLERK OF THE U.S. DISTRICT COURT FOR THE CENTRAL
 2 DISTRICT OF CALIFORNIA:
 3             PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441 and
 4 1446, Defendants VW Credit, Inc. (“VCI”) and Audi Financial Services (“AFS”)
 5 (collectively “Defendants”) 1 hereby remove the above-captioned matter from the
 6 Superior Court of the State of California for the County of Los Angeles – Van Nuys
 7 Courthouse (the “State Court”) to the U.S. District Court for the Central District of
 8 California. This Court has jurisdiction based on federal question jurisdiction
 9 pursuant to 28 U.S.C. § 1331, diversity jurisdiction pursuant to 28 U.S.C. § 1332,
10 and supplemental jurisdiction pursuant to 28 U.S.C. § 1367. As grounds for removal
11 of this action pursuant to 28 U.S.C. § 1446(a), the Defendants state as follows:
12                                PLEADING AND PROCEDURES
13             1.     On March 12, 2021, Plaintiff Julie Goldberg (“Plaintiff”) commenced
14 this civil suit against the VCI, AFS, and several other defendants captioned as
15 Goldberg v. Audi Financial Services et al, Case No. 21VECV00337, Superior Court
16 of the State Of California for the County of Los Angeles – Van Nuys Courthouse
17 (“State Court Action”), which asserts nine (9) causes of action for:
18                    (1)     Violation of Cal. Civ. Code 3071;
19                    (2)     Violation of Uniform Commercial Code Statute § 9-610(a); (b);
20                    (3)     Negligence;
21                    (4)     Consumer Fraud Act Violation – Deceptive Conduct;
22                    (5)     Consumer Fraud Act Violation – Unfair Conduct;
23                    (6)     Conversion;
24                    (7)     Defamation;
25                    (8)     Fraudulent Concealment; and
26
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     1
28       While VCI does business as AFS, it is not a separate entity.

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                    NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1               (9)   Violation of the California Consumer Credit Reporting Agencies
 2                     Act, Cal. Civ. Code § 1785.1, et seq. (“CCRAA”).
 3 A true and correct copy of the Complaint is attached hereto as Exhibit A.
 4        2.     On April 30, 2021, the Defendants filed a demurrer to the Complaint in
 5 the State Action. See Exhibits K and L.
 6        3.     Before the Defendants’ demurrer came on for hearing, on June 1, 2021,
 7 Plaintiff filed her first amended complaint (“FAC”) in the State Court Action against
 8 the Defendants, Eric Ramirez, Adam M. Saltzman as the C.E.O. for Sterling Asset
 9 Recovery, Inc., Michael Farhood, John Doe Farhood, Son of Michael Farhood, Steve
10 Gordon as the Director of the California Department of Motor Vehicles, alleging
11 eighteen (18) causes of action for:
12               (1)   Violation of Cal. Civ. Code § 3068;
13               (2)   Violation of Cal. Civ. Code § 3071;
14               (3)   Violation of Uniform Commercial Code Statute § 9-610(a); (b);
15               (4)   Negligence Per Se;
16               (5)   Negligence – Breach of Fiduciary Duty;
17               (6)   Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;
18               (7)   Conversion;
19               (8)   Defamation;
20               (9)   Slander of Title;
21               (10) Fraudulent Concealment;
22               (11) Violation of the CCRAA;
23               (12) Intentional Infliction of Emotional Distress;
24               (13) Violation of Cal. Bus. & Prof. Code § 7507.9;
25               (14) Violation of Cal. Bus. & Prof. Code § 7507.10;
26               (15) Civil Conspiracy;
27               (16) Violation of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et
28               seq. (“FCRA”);
                                        2
               NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1                 (17) Breach of Promise; and
 2                 (18) Unjust Enrichment;
 3 A true and correct copy of the FAC is attached hereto as Exhibit YY.
 4          4.     True and correct copies of all process, pleadings, orders, and other
 5 papers or exhibits received by the Defendants in this action to date are attached
 6 hereto as Exhibits A through Exhibit JJJ. See Exhibit Index.
 7          5.     Defendants are informed and believe that the aforementioned
 8 documents and exhibits constitute all of the process, pleadings, and orders on file in
 9 the State Court Action.
10          6.     Defendants Adam Saltzman, Michael Farhood, John Doe, Son Of
11 Michael Farhood, and Steve Gordon, Director of the California Department of Motor
12 Vehicles (“DMV”) have consented to this Removal. 2
13          7.     Defendants Does 1 through 50 have yet to be identified and are
14 therefore disregarded for the purposes of this removal. See 28 U.S.C. § 1441(b)(1).
15 As such, the aforementioned Defendants are the only parties needed to consent to
16 this removal.
17                               TIMELINESS OF REMOVAL
18          8.     On June 9, 2021, Plaintiff served the FAC in Exhibit YY by mail to
19 counsel of record for VCI, AFS, Eric Ramirez, Adam Saltzman, Michael Farhood,
20 and John Doe, Son of Michael Farhood. See Exhibit DDD. 3
21          9.     On June 14, 2021, the Defendants received services copies of the FAC
22 in Exhibit YY by mail.
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    On May 18, 2021, Defendant Janis Sachs was dismissed without prejudice in the State Court
25 Action, and is not named in the FAC. See Exhibit SS. On June 23, 2021, the Court granted
26 Defendant Eric Ramirez’s motion to quash service of summons, holding that the Court does not
     have jurisdiction over Mr. Ramirez. See Exhibit III.
27   3
    The docket in the State Court Action does not reflect a proof of service of the FAC as to Steve
28 Gordon, Director of the DMV.
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                 NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1         10.    This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b) as
 2 Defendants have filed this Notice of Removal within thirty days of the date
 3 Defendants were served with the FAC, which is the first date upon which any
 4 defendant in this action was served with any pleading, amended or otherwise, first
 5 giving it knowledge that the action was indeed removable. See 28 U.S.C. § 1446(b).
 6 Defendants have not previously removed the State Court Action.
 7         11.    Defendants have not served nor filed a response to the FAC in the State
 8 Court Action.
 9               REMOVAL JURISDICTION – FEDERAL QUESTION
10         12.    This Court has original jurisdiction over this action pursuant to 28
11 U.S.C. §§ 1331, 1441 and 1446, and all other applicable bases for removal, and it is
12 one that may be removed to this Court because it involves claims and/or issues
13 arising in whole or in part under the Constitution, laws, or treaties of the U.S.
14         13.    Pursuant to 28 U.S.C. § 1331, U.S. District Courts “shall have original
15 jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the
16 United States.” See U.S. v. Alisal Water, 431 F.3d 643, 650 (9th Cir. 2005).
17 Additionally, pursuant to 28 U.S.C. § 1441(a), “[e]xcept as otherwise expressly
18 provided by Act of Congress, any civil action brought in a State court of which the
19 district courts of the United States have original jurisdiction, may be removed by the
20 defendant or the defendants, to the district court of the United States for the district
21 and division embracing the place where such action is pending.”
22         14.    Plaintiff’s sixteenth cause of action in the FAC is brought pursuant to
23 the FCRA, 15 U.S.C. §§ 1681, et seq., and it alleges that Defendants’ actions
24 “constitute numerous and multiple willful, reckless, or negligent violation of the
25 FCRA.” Exhibit YY (FAC), ¶ 261. Plaintiff seeks statutory, actual and punitive
26 damages under FCRA.
27         15.    Accordingly, because Plaintiff has asserted claims “arising under the
28 laws . . . of the United States,” this Court has original subject matter jurisdiction over
                                          4
                 NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1 this action and removal is proper. 28 U.S.C. § 1331.
 2          REMOVAL JURISDICTION – DIVERSITY JURISDICTION
 3         16.    This Court has jurisdiction over this action under 28 U.S.C. § 1332(a),
 4 28 U.S.C. § 1441(b), and all other applicable bases for removal, as it is an action that
 5 may be removed to this Court by Defendants, because: (1) there is complete diversity
 6 of citizenship between Plaintiff, on the one hand, and Defendants, on the other hand;
 7 and (2) the amount-in-controversy exceeds $75,000, exclusive of interest and costs.
 8 A.      The Parties are Citizens of Different States.
 9         17.    Plaintiff’s Citizenship. A person’s domicile, which determines state
10 citizenship for purposes of diversity jurisdiction, is the person’s permanent home,
11 where he resides with the intention to remain or to which he intends to return. See
12 Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001); 28 U.S.C. § 1332.
13 Moreover, the diversity determination is dependent on where the parties were
14 domiciled at the time the lawsuit is filed and also when the removal is filed. Lew v.
15 Moss, 797 F.2d 747, 750 (9th Cir. 1986) (“[D]omicile for purposes of diversity is
16 determined as of the time the lawsuit is filed”); Strotek v. Air Transp. Ass’n. of Am.,
17 300 F.3d 1129, 1131 (9th Cir. 2002) (diversity jurisdiction “is determined (and must
18 exist) as of the time the complaint is filed and removal is effected”). The Ninth
19 Circuit applies the Lew factors to determine where a person is domiciled. Id. These
20 factors include “current residence, voting information, location of property, location
21 of brokerage and bank accounts, location of spouse and family, place of
22 employment, driver's license and automobile registration, payment of taxes, and
23 membership in unions or other organizations.” Id. (emph. added).
24         18.    Upon information and belief, Plaintiff is a citizen of Wayne County,
25 Michigan. First, Plaintiff is registered to vote in the City of Melvindale, Wayne
26 County, Michigan, as reflected by the Michigan Voter Information Center. See Decl.
27 of S. Kamal in support of Notice of Removal (“Kamal Decl.”), ¶ 2; Lew, 797 F.2d
28 at 750 (relying on voting information to determine diversity jurisdiction).
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                 NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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12         19.    Second, Plaintiff’s profile with the California State Bar represents that
13 she has an address in Melvindale, MI, as reflected on the State Bar of California’s
14 website, as of the date of filing this notice of removal:
15 See State Bar of California Attorney Search California Secretary of State Attorney
16 Search, available at http://members.calbar.ca.gov/fal/LicenseeSearch/QuickSearch
17 (Searched:           “Julie        Ann          Goldberg”)          available         at
18 http://members.calbar.ca.gov/fal/Licensee/Detail/235565; see also Kamal Decl., ¶ 2.
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                 NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1         20.    While the FAC does not refer to her citizenship, Plaintiff admits that
 2 she is “in four different cities one of which is out of the country and [she] is mostly
 3 overseas.” See Exhibit YY (FAC), Ex. X. to the FAC, ¶ 9.
 4         21.    In the alternative, upon information and belief, Plaintiff is a citizen of
 5 Bronx County, New York. In the exhibits to the FAC, Plaintiff alleges that in
 6 October 2016, she changed her mailing address to New York “where mail is at least
 7 monitored because my California address where the car was registered and garaged
 8 I do not receive mail and if I do it’s only every 4 to 5 months when I am in town.”
 9 Id. at ¶ 12. Plaintiff alleges that in February 2020, she “quarantined in New York.”
10 Id. at ¶¶ 43, 45. Plaintiff alleges that she received title to the subject vehicle in June
11 2020 when she returned to Los Angeles “because of the fact that it went to an address
12 where I do not receive mail.” Id. at ¶¶ 44, 46.
13         22.    Plaintiff does not allege that she is a citizen of, resides in, nor domiciled
14 in the state of California. See Exhibits A (Complaint), ¶ 4; Exhibit YY (FAC), ¶ 5.
15         23.    VCI and AFS’s Citizenship. VCI, which does business as AFS, is a
16 corporation incorporated under the laws of Delaware, and maintains its principal
17 place of business in Illinois, as reflected by the California’s Secretary of State’s
18 Business Entity Search website:
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                 NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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13 See       California    Secretary    of   State   Business     Search     available    at
14 https://businesssearch.sos.ca.gov/ (Corporation Name Searched: “VW Credit,
15 Inc.”); Kamal Decl., ¶ 3. Therefore, Defendants are citizens of Delaware and/or
16 Illinois for the purpose of determining jurisdiction. See 28 U.S.C. § 1332(c)(1) (for
17 diversity purposes, “[a] corporation shall be deemed a citizen of any State by which
18 it has been incorporated and of the State where it has its principal place of business”);
19 Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010) (the “‘principal place of business’
20 is best read as referring to the place where a corporation’s officers direct, control,
21 and coordinate the corporation’s activities,” and in practice, the principal place of
22 business “should normally be the place where the corporation maintains its
23 headquarters – provided that the headquarters is the actual center of direction,
24 control, and coordination”).
25           24.    Adam Saltzman, C.E.O for Sterling Asset Recovery, Inc. is a citizen of
26 California. See Exhibit YY (FAC), ¶ 10.
27           25.    Michael Farhood is a citizen of the California, upon information and
28 belief.
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                   NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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  1            26.     John Doe, son of Michael Farhood, is a citizen of the California, upon
  2 information and belief.
  3            27.     Steve Gordon, Director of the California Department of Motor
  4 Vehicles, is a citizen of California, upon information and belief.
  5            28.      Defendants “DOES 1 to 50” are fictitious defendants whose
  6 citizenship is disregarded for purposes of removal. See 28 U.S.C. § 1441(a).
  7            29.     Because Plaintiff is a citizen of Michigan or New York, and of the
  8 Defendants—VCI and AFS are citizens of Delaware and Illinois, Adam Saltzman is
  9 a citizen of California, Michael Farhood and John Doe, son of Michael Farhood are
 10 citizens of California, and Steve Gordon is a citizen of California, complete diversity
 11 exists. 4
 12 B.         The Amount in Controversy Exceeds $75,000.
 13            30.     In order to establish diversity jurisdiction, the amount in controversy
 14 must exceed $75,000. The face of Plaintiff’s FAC shows the amount in controversy
 15 exceeds $75,000.
 16            31.     Based upon Plaintiff’s request for damages in the FAC of at least
 17 $200,000, the amount in controversy exceeds $75,000. See Exhibit YY, ¶ 273;
 18 LaCrosse v. Knight Truck & Trailer Sales, LLC, 775 F.3d 1200, 1203 (9th Cir. Jan.
 19 8, 2015) (citing St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289
 20 (1938)) (a plaintiff’s complaint is a court’s “first source of reference in determining
 21 the amount in controversy”).
 22            32.     VCI and AFS expressly reserve the right to amend or supplement this
 23 Notice of Removal and the evidence in support thereof to the fullest extent permitted
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          As noted above, neither Defendant Eric Ramirez nor Janis Sachs remain parties to the litigation.
 26 Mr. Ramirez, a citizen of Virginia, had his motion to quash service of the summons granted on
      June 23, 2021. See Exhibit III. Defendant Janis Sachs is a citizen of California, upon information
 27 and belief, and was dismissed without prejudice on May 18, 2021. See Exhibit SS. Even if these
 28 defendants remained in the litigation, diversity of citizenship would not be defeated.
                                              9
                     NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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  1 by applicable law to provide additional supporting evidence or include any
  2 additional sums sought in the FAC, but not included herein, should any aspect of
  3 this removal and/or the information set forth herein be challenged. See, e.g., Arias,
  4 936 F.3d at 925-29 (defendant must be provided “a fair opportunity to submit proof”
  5 where amount in controversy contested); Janis v. Health Net, Inc., 472 F. App’x 533,
  6 534-35 (9th Cir. 2012) (holding court erred in refusing to consider evidence
  7 submitted after removal in response to a remand motion).
  8                          SUPPLEMENTAL JURISDICTION
  9        33.      The Court has supplemental jurisdiction over all other claims asserted
 10 by Plaintiff pursuant to 28 U.S.C. § 1367(a) and 28 U.S.C. § 1441(c). When a
 11 defendant removes a lawsuit that joins both federal and state law claims, the district
 12 court may exercise supplemental jurisdiction over the state law claims if those claims
 13 “form part of the same case or controversy.” 28 U.S.C. § 1367(a); see also Kuba v.
 14 1-Aagric. Ass’n, 387 F.3d 850, 955 (9th Cir. 2004) (claims are within the
 15 supplemental jurisdiction of the Court if they “derive from a common nucleus of
 16 operative fact and are such that a plaintiff would ordinarily be expected to try them
 17 in one judicial proceeding.”).
 18        34.      Here, Plaintiff’s causes of action arise from the same set of alleged facts
 19 and contentions regarding the actions that Defendants’ actions undertook regarding
 20 the subject vehicle for which the they allegedly inaccurately reported on Plaintiff’s
 21 credit report and repossessed the subject vehicle. Further, the eleventh cause of
 22 action is brought pursuant to the CCRAA, Civ. Code § 1785.1, which is the state law
 23 counterpart to the FRCA, and the FCRA is, therefore, inextricably intertwined with
 24 the eleventh cause of action.
 25        35.      Accordingly, this Court has supplemental jurisdiction over the state law
 26 claims pursuant to 28 U.S.C. § 1367(a). Thus, this action is removable in its entirety
 27 under this Court’s original federal question and supplemental subject matter
 28 jurisdiction.
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                 NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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  1                                        VENUE
  2         36.    Defendants are informed and believe that the events allegedly giving
  3 rise to this action occurred within this judicial district. Venue lies in this Court
  4 because Plaintiff’s action was filed in the Superior Court of California, County of
  5 Los Angeles, and is pending in this district and division. Accordingly, Defendants
  6 are entitled to remove this action to the U.S. District Court for the Central District
  7 of California as it is the “district and division embracing the place where such action
  8 is pending.” 28 U.S.C. § 1441(a). See 28 U.S.C. § 1441(a).
  9                  NOTICE TO PLAINTIFF AND STATE COURT
 10         37.    Contemporaneously with the filing of this Notice of Removal in this
 11 Court, written notice of such filing will be served on Plaintiff’s counsel of record as
 12 reflected in the attached Certificate of Service. In addition, a copy of this Notice of
 13 Removal will be filed with the Clerk of the Superior Court of the State of California
 14 for the County of Los Angeles.
 15                 PRESERVATION OF DENIALS AND DEFENSES
 16         38.    By filing this Notice of Removal, the Defendants do not waive any
 17 jurisdictional or other defenses that might be available to it. In addition, the
 18 Defendants expressly reserve the right to move for dismissal of some or all of
 19 Plaintiff’s claims pursuant to Rule 12 of the Federal Rules of Civil Procedure.
 20 Defendants reserve the right to amend or supplement this Notice of Removal.
 21 Defendants specifically reserve the right to amend this petition to offer additional
 22 grounds for removal should the grounds presented herein be found to be insufficient.
 23         WHEREFORE, the Defendants respectfully request that the above-captioned
 24 action now pending in the Superior Court of California in Los Angeles County be
 25 removed to this U.S. District Court for the Central District of California.
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                  NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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  1 DATED: July 1, 2021              MCGUIREWOODS LLP
  2
  3                                  By:         /s/ Salwa Kamal
                                                 Carolee Hoover, Esq.
  4                                              Alexander Gershen, Esq.
                                                 Salwa Kamal, Esq.
  5
                                           Attorneys for VW Credit, Inc. and Audi
  6                                        Financial, Services
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  1                            CERTIFICATE OF SERVICE
  2        I hereby certify that on July 1, 2021, the foregoing NOTICE OF
  3 REMOVAL OF CIVIL ACTION FROM STATE COURT                             was     filed
  4 electronically in the Court's Electronic Case Filing system ("ECF"). Copies were
  5 served on the interested parties as listed below.
  6
  7   Julie Ann Goldberg, Esq.                  BY FEDERAL EXPRESS
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 12   PLAINTIFF

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 23   PLAINTIFF COUNSEL
 24
 25
 26
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                                            4
                                  CERTIFICATE OF SERVICE
Case 2:21-cv-05345-CAS-AS Document 1 Filed 07/01/21 Page 15 of 15 Page ID #:15




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      DEFENDANDT
  9
 10
 11                                      /s/ Salwa Kamal
 12                                         Salwa Kamal

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                                 CERTIFICATE OF SERVICE
